                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE

 WILLIAM CAPERS JORDAN,                     )
                                            )
                 Petitioner,                )
                                            )
         vs.                                )     Nos. 3:07-CR-00089 / 3:14-CV-00149
                                            )          REEVES/GUYTON
 UNITED STATES OF AMERICA,                  )
                                            )
                 Respondent.                )
                                            )

                                   JUDGMENT AND ORDER

        In accordance with the accompanying Memorandum, Petitioner’s motion to vacate, set

 aside or correct his sentence pursuant to 28 U.S.C. § 2255 [Doc. 332] is DENIED, and this

 action is DISMISSED. Should the Petitioner give timely notice of an appeal from this decision,

 such notice will be treated as an application for a certificate of appealability, which under the

 circumstances is DENIED. The Court certifies that any appeal from this action would not be

 taken in good faith and would be totally frivolous. Therefore, this Court hereby DENIES the

 Petitioner’s leave to proceed in forma pauperis on appeal.

               SO ORDERED:




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                                                                    CT JUDGE
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Case 3:07-cr-00089-RLJ-HBG          Document 361 Filed 07/03/17            Page 1 of 1     PageID
                                          #: 4063
